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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

 ABEL PENA

                                                   C.A. No.: 2:16-cv-00501
 VS.


 AMERICAN ZURICH
 INSURANCE COMPANY

       PLAINTIFF’S ORIGINAL COMPLAINT FOR DECLARATORY JUDGMENT
TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff Abel Pena files this Original Complaint for Declaratory Judgment, asking the Court

to hold:

        1.     That the waiver of subrogation contained in the workers compensation policy

               Defendant American Zurich Insurance Company issued to Mesa Southern Well

               Servicing is applicable to Plaintiff Abel Pena’s settlement of his claims arising out

               of a workplace injury;

        2.     That Plaintiff Abel Pena has no obligation to repay or reimburse Defendant American

               Zurich Insurance Company for any of the workers compensation benefits paid on his

               claim; and
        3.     That Defendant American Zurich Insurance Company is not entitled to a “holiday”

               or a credit against future benefits as a result of Plaintiff Abel Pena’s settlements of

               his claims arising out of a workplace injury.
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                                                1.0

                                            PARTIES
1.1   Plaintiff Abel Pena is an individual and a citizen of the State of Texas.

1.2   Defendant American Zurich Insurance Company is an corporation and a citizen of the State

      of Illinois. It may be served through its attorney for service, Corporation Service Company,

      211 East 7th Street, Suite 620, Austin TX 78701-3218.

                                                2.0

                                JURISDICTION AND VENUE
2.1   This Court has diversity jurisdiction pursuant to the United States Constitution and 28 U.S.C.
      § 1332(a) because this suit involves a controversy between citizens of different states and the

      amount in controversy exceeds $75,000.00.

2.2   Defendant is deemed to reside in the Southern District of Texas because it is amenable to

      jurisdiction in the Southern District of Texas. 29 U.S.C. § 1391(a)(1), (c). Therefore, venue

      is proper in the Southern District of Texas.

2.3   A second basis for venue is that this dispute arises out of the settlement of a lawsuit filed in

      Jim Wells County, which lies within the Southern District of Texas.

2.4   A third basis for venue is that Abel Pena’s workplace injury occurred in McMullin County,

      Texas, which lies within the Southern District of Texas.

2.5   Defendant American Zurich Insurance Company is subject to personal jurisdiction in Texas.

      It purposefully avails itself of the benefits of the Texas forum by marketing to Texas

      companies, issuing policies in Texas, and collecting premiums from Texas.

2.6   This declaratory judgment action arises out of Defendant American Zurich Insurance

      Company’s Texas contacts. It involves a policy issued in Texas to a Texas company, a claim

      that occurred in Texas, a Texas workers compensation claim, and an attempt for force a

      Texas citizen to pay subrogation that is not due and owing.

                                                3.0

                                             FACTS
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3.1   Defendant Zurich North American Insurance Company issued a workers compensation

      insurance policy to Mesa Southern Well Servicing, L.P. A copy of that policy is attached as

      Exhibit 1.

3.2   The workers compensation policy contained a “Texas Waiver of Our Right to Recover from

      Others Endorsement.” That endorsement provided:




3.3   Mesa Southern Well Servicing, L.P. entered into a Master Service Agreement with SEA

      Eagle Ford, LLC. A copy of the Master Service Agreement is attached as Exhibit 2.

3.4   The Master Service Agreement contained a waiver of subrogation requirement. Specifically,

      Exhibit A to the Master Service Agreement provided:
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3.5    On March 15, 2014, Plaintiff was severely burned in a workplace explosion while in the

       course and scope of his employment with Mesa Southern Well Servicing.

3.6    The explosion occurred in McMullen County, Texas.

3.7    Defendant American Zurich Insurance Company paid both medical and indemnity benefits

       on Abel Pena’s claim arising out of the March 15, 2015 explosion.

3.8    As of July 15, 2016, Defendant American Zurich Insurance Company has asserted a workers




       compensation lien in the amount of $585,419.60. A copy of the letter from American Zurich

       Insurance Company asserting the lien is attached as Exhibit 3.

3.9    Abel Pena brought suit against Sundance Energy, Inc., SEA Eagle Ford, LLC, and FESCO,

       Ltd. third-parties who he believed were responsible for the March 15, 2014 explosion.

3.10   Sundance Energy, Inc. is the parent and sole member of SEA Eagle Ford, LLC. As such, it

       is included in the waiver of subrogation provision of the Master Service Agreement as an

       “Affliate,” “shareholder,” and “invitee” of the company.

3.11   FESCO, Ltd. was a contractor on site, and therefore was included in the waiver of

       subrogation provision of the Master Service Agreement as a “contractor” and an invitee.

3.12   Abel Pena reached a settlement of his claims against SEA Eagle Ford, LLC, Sundance

       Energy, Inc., and FESCO, Ltd. However, he cannot fully disburse his settlement funds until

       the issue of whether Defendant has an enforceable subrogation lien is resolved.

3.13   Since at least February 2016, Abel Pena’s counsel has repeatedly pointed out the waiver of

       subrogation provisions in the workers compensation policy and the Master Service

       Agreement.

3.14   Despite repeated letters, phone calls, and e-mails, Defendant American Zurich Insurance

       Company has refused to state whether it will honor the waiver of subrogation provision and
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      withdraw its claimed subrogaton lien. Therefore, Plaintiff Abel Pena has been forced to file

      this lawsuit.

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                      REQUEST FOR DECLARATORY JUDGMENT
4.1   Plaintiff Abel Pena seeks a declaration under both Rule 57 of the Federal Rules of Civil

      Procedure and 28 U.S.C. §§ 2201 and 2202 that:

      A.       That the waiver of subrogation contained in the workers compensation policy

               Defendant American Zurich Insurance Company issued to Mesa Southern Well

               Servicing is applicable to Plaintiff Abel Pena’s settlement of his claims arising out
               of a workplace injury;

      B.       That Plaintiff Abel Pena has no obligation to repay or reimburse Defendant American

               Zurich Insurance Company for any of the workers compensation benefits paid on his

               claim; and

      C.       That Defendant American Zurich Insurance Company is not entitled to a “holiday”

               or a credit against future benefits as a result of Plaintiff Abel Pena’s settlements of

               his claims arising out of a workplace injury.

4.2   The “Texas Waiver of Our Right to Recover from Others Endorsement” states that

      subrogation is waived as to all persons and organizations, which is a blanket waiver of

      subrogation.

4.3   The “Texas Waiver of Our Right to Recover from Others Endorsement” also provides that

      there is a waiver of subrogation that applies whenever it is required by a written contract.

      The Master Service Agreement requires a waiver of subrogation, and the required waiver

      includes claims against SEA Eagle Ford, LLC, Sundance Energy, Inc., and FESCO, Ltd.

4.4   As a result of the “Texas Waiver of Our Right to Recover from Others Endorsement” and

      the Master Service Agreement, Defendant American Zurich Insurance Company has no right

      to subrogation or a credit against future benefits on Abel Pena’s workers compensation

      claim.
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                                            PRAYER
       Abel Pena prays that the Court enter the declaration requested in his Complaint, and that the

Court further enter judgment against Defendant for the attorneys’ fees and costs Abel Pena incurs

in prosecuting this action.

                                                  Respectfully submitted,

                                                  /s/ Michael R. Cowen
                                                  S.D. Tex ID No. 19967
                                                  Texas Bar No. 00795306
                                                  COWEN | MASK | BLANCHARD
                                                  62 E. Price Road
                                                  Brownsville, TX 78521
                                                  Telephone: (956) 541-4981
                                                  Facsimile: (956) 504-3674
                                                  E-Mail for filing: efilings@cmbtrial.com
                                                  Personal E-Mail: michael@cmbtrial.com

                                                  ATTORNEY-IN-CHARGE
                                                  FOR PLAINTIFF ABEL PENA
